 

Case 2:12-cV-02554-SVW-SS Document 112 Filed 11/14/12 Page 1 of 1 Page |D #:3396

Case No . :

Title:

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UNITED STATES DISTRICT COURT

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CENTRAL DISTRICT OF CALIFORNIA 05le

2=12-cv-02554~svw§SS Date= \\¢\‘41 9L?\9'
Time: g " U~l PVV\>

Aaron L Mintz v. Mark Bartelstein and Associates Inc

 

JUR.Y NOTE NUMBER 'A~"

THE JURY HAS REACHED A UNANIMOUS VERDICT

THE JURY REQUESTS THE FOLLOWING:

 

 

 

 

 

 

 

 

 

sIGNED=Y

e REDACTED AS TO
` FoREPERSON’S NAME

Print, Name: 1

x

